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                    UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF NEW HAMPSHIRE




United States of America

     v.                                        Case No. 06-cr-85-01-PB

Richard Villar, et al.


                                 O R D E R


     The defendant, through counsel, has moved to continue the

May 1, 2007 trial in the above case, citing newly appointed

counsel and the need for additional time to complete discovery

and prepare a defense.       The government and does not object to a

continuance of the trial date.

     Accordingly, for the above reason and to allow the parties

additional time to properly prepare for trial, the court will

continue the trial from May 1, 2007 to August 21, 2007.               In

agreeing to continue the trial, the court finds pursuant to 18

U.S.C.A. § 3161(h)(8)(A) that for the above-stated reasons, the

ends of justice served in granting a continuance outweigh the

best interests of the public and the defendant in a speedy trial.
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      The April 19, 2007 final pretrial conference is continued to

July 24, 2007 at 3:30 p.m.

      SO ORDERED.



                                         /s/Paul Barbadoro
                                         Paul Barbadoro
                                         United States District Judge

April 19, 2007

cc:   Michael Iacopino, Esq.
      Terry Ollila, AUSA
      Sven Wiberg, Esq.
      Douglas Miller, Esq.
      United States Probation
      United States Marshal




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